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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

So Oo Attn wo & & WN

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HAOREN Ma, Case No. EDCV 20-1219-JGB (KK)

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Petitioner,

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V. JUDGMENT
LORETTA E. LYNCH, ET AL.,

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_ WwW

Respondent.

 

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Pursuant to the Order Summarily Dismissing Action,

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IT IS HEREBY ADJUDGED that this action is DISMISSED without

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HONGRABLE JESUS G- BERNAL
UnitedBsates District Judge

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prejudice.

NO
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No
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Dated: November 6, 2020

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